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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA, et al.          )
                                           )
              Plaintiffs,                  )
                                           )
       v.                                  )     Civil Action No. IP99-1693 C-M/S
                                           )
 CINERGY CORP., et al.,                    )
                                           )
              Defendants.                  )
                                           )

                          PLAINTIFFS’ OPPOSITION
            TO CINERGY’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                  ATTACHMENTS

 Attachment A     Appellants’ Brief and Required Short Appendix Filed by Cinergy in
                  Seventh Circuit

 Attachment B     United States v. Carter, Nos. 81-981-Civ-JWK, 81-982-Civ-JWK, 1982
                  U.S. Dist. Lexis 18092 (S.D. Fla. Dec. 21, 1982)

 Attachment C     United States v. American Electric Power, 99-cv-1182, slip op. (S.D. Ohio
                  June 30, 2006)

 Attachment D     United States v. American Electric Power, 99-cv-1182, aff’d slip op. (S.D.
                  Ohio Oct. 12, 2006)

 Attachment E     Cinergy Corp. v. St. Paul Surplus Lines Ins. Co., No. 32A01-0605-CV-
                  218, 2007 WL 4349705 at *3 (Ind. App. Nov. 13, 2007)


                                      EXHIBITS

 Exhibit 1        Declaration of Dr. Phyllis Fox in Support of Plaintiffs’ Opposition to
                  Cinergy’s Motion for Partial Summary Judgment on the Remaining Claims

 Exhibit 2        Declaration of Lyle Chinkin in Support of Plaintiffs’ Opposition to
                  Cinergy’s Motion for Partial Summary Judgment on the Remaining Claims

 Exhibit 3        Direct Testimony of James E. Benning Before Public Service Commission
                  of Indiana, Cause No. 37414 (PX 1664)(PSI-016697-166757)

 Exhibit 4        Declaration of Dr. Joel Schwartz in Support of Plaintiffs’ Opposition to
                  Cinergy’s Motion for Partial Summary Judgment on the Remaining Claims

 Exhibit 5        Declaration of Dr. Charles T. Driscoll, Jr. in Support of Plaintiffs’
                  Opposition to Cinergy’s Motion for Partial Summary Judgment on the
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 Exhibit 6        Declaration of Justin A. Savage in Support of the Plaintiffs’ Opposition to
                  Cinergy’s Motion for Partial Summary Judgment

 Exhibit 7        Supplemental Declaration of Justin A. Savage in Support of the Plaintiffs’
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                  UNDER SEAL)


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 Exhibit 8        June 5, 1989 Letter from Henry Nickel, Hunton & Williams, to Polly
                  Gault, DOE (UARG1000090-100)




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        After eight days of trial and two days of deliberations, the jury in this case found that

 Cinergy violated the New Source Review provisions of the Clean Air Act for four construction

 projects at the Wabash River plant in West Terre Haute, Indiana. Cinergy now argues that this

 Court lacks the power to do anything to redress the harm from the hundreds of thousands of tons

 of illegal pollution Cinergy emitted since the modifications. That claim is wrong on the law,

 premature on the facts, and offensive to the Clean Air Act, the traditions of equity, and common

 sense. As the Ninth Circuit found in a similar enforcement case under the Clean Water Act, once

 an action is brought in federal court, there is more for the court to do than simply tell the

 defendant to follow the law in the future: “We do not agree that a district court’s equitable

 authority is so cramped. The authority to ‘enforce’ an existing requirement is more than the

 authority to declare that the requirement exists and repeat that it must be followed.” Natural Res.

 Def. Council v. Southwest Marine, Inc., 236 F.3d 985, 1000 (9th Cir. 2000). Under the Clean Air

 Act, this Court is invested with the full scope of its equitable authority and may order what

 measures it deems necessary to bring Cinergy into compliance with the law and ameliorate the

 harm caused by its violations. “Such action is within the recognized power and within the

 highest tradition of a court of equity.” Wehner v. Syntex Corp., 682 F. Supp. 39, 40 (N.D. Cal.

 1987) (citing Porter v. Warner Co., 328 U.S. 395, 402 (1946)).

        Cinergy makes two arguments in support of its motion for partial summary judgment.

 First, it argues that it is beyond the power of this Court to grant any relief aimed at redressing the

 harm from its prior violations of law. Second, it argues that even if such power exists, it should

 not be exercised here. The first argument flies in the face of centuries of equity jurisprudence,

 the language and purpose of the Clear Air Act, and Cinergy’s own briefing in a related state case.




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 The second is both premature and procedurally infirm: it is inherently a fact-based question, and

 Cinergy has provided no statement of undisputed facts.

        Plaintiffs are still developing the elements of relief we believe will be necessary to bring

 Cinergy back into compliance with the law and make up for nearly two decades of illegal

 emissions.1 The question before the Court at this time is simply whether it should preclude the

 possibility of any redress of past emissions. Plaintiffs show below that the Court has broad

 equitable authority to order actions to remediate the effects of Cinergy’s pollution, and we

 believe that our presentation at trial will demonstrate that such actions should be taken.

 Cinergy’s motion should be denied.

                                          BACKGROUND

 I.     Statute

        The Clean Air Act passed in 1970 was intended in part to “speed up, expand, and

 intensify the war against air pollution in the United States with a view to assuring that the air we

 breathe throughout the Nation is wholesome once again.” H.R. Rep. No. 91-1146, at 1 (1970),

 reprinted in 1970 U.S.C.C.A.N. 5356, 5356; Wisconsin Elec. Power Co. v. Reilly, 893 F.2d 901,

 909 (7th Cir. 1990) (quoting legislative history). Not satisfied with the results achieved under

 the 1970 statute, Congress added the New Source Review (“NSR”) program to the Act in 1977

 to ensure that emissions from new or modified sources would not interfere with an area’s ability

 to meet or maintain air quality standards. See 42 U.S.C. § 7470 (congressional declaration of

 purpose “to protect public health and welfare from any actual or potential adverse effect in

 which the Administrator’s judgment may reasonably be anticipate [sic] . . . notwithstanding

 attainment and maintenance of all national ambient air quality standards.”) (emphasis added);

 1
   Plaintiffs are mindful that equitable remedies must have a nexus to proven violations and be
 roughly proportional to the harm caused. Our proof will meet those standards.


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 New York v. EPA, 413 F.3d 3, 10 (D.C. Cir. 2005) (“In 1977, Congress amended the Clean Air

 Act . . . to strengthen the safeguards that protect the nation’s air quality.”). The Prevention of

 Significant Deterioration (“PSD”) component of NSR – which applies to areas in attainment with

 air quality standards (or where attainment is unclassifiable) – was “aimed at giving added

 protection to air quality” while fostering economic growth in a manner consistent with

 preservation of existing clean air resources. Environmental Defense v. Duke Energy Corp.,

 127 S. Ct. 1423, 1429 (2007). Under the NSR program, no major source can be built or

 modified unless various requirements are met, including obtaining a preconstruction permit

 setting forth emission limitations and applying state-of-the-art pollution controls. 42 U.S.C. §§

 7475(a), 7479(3), 7502(c)(5), 7503.

 II.    Effects Of Cinergy’s Violations

        It is possible to state what controls would have been required if Cinergy had obtained

 NSR permits at the time of the projects. Cinergy itself has admitted in briefing to the Seventh

 Circuit that if projects “triggered NSR, then Cinergy was required to obtain a preconstruction

 permit before starting each project and to retrofit each power plant with state-of-the-art controls

 during the maintenance work.” United States v. Cinergy, Cinergy Opening Brief to Seventh

 Circuit at 2 (Attachment A). By comparing the removal efficiencies – the percentage of

 emissions removed by a given pollution control technology – that would have been achieved

 with such controls to what Cinergy actually emitted, it is fairly straightforward to estimate the

 additional tons of pollution that Cinergy emitted due to its failure to comply with the NSR

 program. Plaintiffs’ NSR expert Dr. Phyllis Fox has made a preliminary calculation and

 determined that the failure to obtain permits and install controls at Wabash River units 2, 3, and

 5 resulted in an additional 340,000 tons of sulfur dioxide (“SO2”) (along with lesser amounts of




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 oxides of nitrogen (“NOX”) and mercury) emitted from the plant from the date of the

 modifications through the end of 2007. Ex. 1, Declaration of Phyllis Fox at ¶¶5-11. A typical

 year’s worth of SO2 emissions from Wabash River units 2, 3, and 5 is equivalent to the emissions

 from 324,000 heavy-duty diesel trucks – as many trucks as are registered in Indiana, Kentucky,

 and Ohio combined. Ex. 2, Declaration of Lyle Chinkin (“Chinkin Dec.”) at ¶7. Cinergy itself

 studied installing flue gas desulfurization (“FGD”) systems for controlling SO2 at the Wabash

 River plant as early as 1985, and concluded that such installation was possible. See, e.g., Ex. 3,

 Testimony of James E. Benning before Public Service Commission of Indiana (Feb. 11, 1985).

 The company believed that its planned refurbishment projects might trigger pollution control

 requirements and concluded that refurbishing the plants and adding FGD would be less

 expensive than replacing the plants with new units. Id at 17. The company estimated that

 installing FGD at Wabash River units 1 through 6 would cost approximately $160 million in

 1984 dollars and approximately $294 million in actual dollars with construction costs incurred

 from 1990 to 1995. Id. at V-7, V-8. Of course, Cinergy later opted not to install controls, and

 the jury has found that the failure to follow the NSR process violated the law. Therefore, any

 emissions of pollutants from the affected units are illegal because the units were not authorized

 to operate without obtaining NSR permits.

        Plaintiffs expect to present evidence showing the illegal emissions from the Wabash

 River plant have harmed and are continuing to harm specific downwind areas, such as

 Indianapolis. The pollutants at issue in this case, SO2 and NOX, form particulate matter (“PM”)

 and ozone in the air after being emitted from power plants and other sources. Chinkin Dec. at

 ¶8; Ex. 4, Declaration of Joel Schwartz (“Schwartz Dec.”) at ¶3. A particular subset of PM,

 PM2.5, refers to particulate matter with a diameter of less than 2.5 micrometers (a micrometer is




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 equal to one millionth of a meter). Chinkin Dec. at ¶8. PM2.5 has been well-studied and is

 known to cause premature mortality in human beings, increase the rate of heart attacks and

 artherosclerosis, reduce lung function in children and adults, and increase respiratory symptoms

 in children. Schwartz Dec. at ¶3. PM2.5 also increases the rates of hospitalization for

 pneumonia and heart failure. Id. There is no known threshold below which PM2.5 has no

 effects. Id. Ozone also affects human health by increasing rates of premature mortality, and

 respiratory hospital admissions. Id. Mercury from power plants enters the food chain for fish

 and mammals, resulting in exposure and neurological effects for humans and wildlife. Ex. 5,

 Declaration of Charles Driscoll at ¶3c.

        In addition to harming human health, SO2, NOX, and mercury create acidic deposition,

 known as acid rain, which harms the environment. Id. at ¶3. Acidic deposition affects soils,

 harming the habitat for plants and delaying ecosystem recovery. Id. at ¶3a. Acid deposition has

 also impaired, and continues to impair, the water quality of lakes and streams, reducing the

 growth of aquatic life and having sometimes lethal effects on species of aquatic life in acid-

 sensitive regions. Id. at ¶3b.

 III.   Elements Of Relief Sought

        While the precise contours of Plaintiffs’ proposed relief await further discovery and

 development of expert opinions, there are two broad elements of relief Plaintiffs seek in this

 case: prospective and retrospective relief. The former will likely consist of installing state-of-

 the-art pollution controls and obtaining permits for Wabash River units 2, 3, and 5 (assuming

 Cinergy opts to continue running the units). We expect that the latter will focus on additional

 measures designed to further reduce the pollution from the Wabash River plant in order to make




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 up for the nearly two decades of illegal pollution.2 The crafting of such remedies is “an area in

 which the courts have settled authority and competence.” U.S. Public Interest Research Group

 v. Atlantic Salmon of Maine, LLC, 339 F.3d 23, 31 (1st Cir. 2003) (citing Weinberger v. Romero-

 Barcelo, 456 U.S. 305 (1982)). To the extent that Cinergy predicts that Plaintiffs will seek

 certain types of “ad hoc and retroactive mitigation projects” described on page 2 of Cinergy’s

 brief, Cinergy is simply wrong. (Plaintiffs note that Cinergy cited excerpts of two briefs written

 by the defendants in prior NSR cases to support its supposition about what Plaintiffs will ask for

 here. Without cluttering the record with Plaintiffs’ response briefs in this cases, we simply ask

 that Cinergy not be allowed to use these excerpted briefs to present additional argument through

 its exhibits.) Plaintiffs plan to seek the redress of illegal emissions from the Wabash River plant

 through specific measures to reduce pollution at Wabash River beyond what is required for

 prospective compliance, thus benefitting the very people that were harmed by the Cinergy’s

 illegal emissions.

                      STATEMENT OF MATERIAL FACTS IN DISPUTE

         Cinergy did not include a statement of material facts not in dispute in its brief, as required

 by Local Rule 56.1(a), so there are no facts for Plaintiffs to dispute. Instead, Plaintiffs have

 described generally in the Background section above – and plan to further detail at trial – the

 facts that support equitable relief.




 2
   Plaintiffs will also seek similar types of relief for the PM violations at Beckjord units 1 and 2.
 See United States v. Cinergy Corp., No. 99-1693, 2007 WL 2914540 (S.D. Ind. Sept. 28, 2007)
 (granting Plaintiffs’ motion for summary judgment).



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                                            ARGUMENT

        When a court sits in equity, it has at its disposal the full panoply of equitable remedies –

 crafted, tested, and refined by literally centuries of jurisprudence – unless Congress explicitly

 restricts its reach. Nothing in the language or the purpose of the Clean Air Act suggests that

 Congress intended to curtail this traditional authority. To the contrary, both the broad language

 Congress used – “court shall have jurisdiction to . . . award any other appropriate relief” – and

 the goals Congress set for the Clean Air Act establish that courts have their full equitable

 authority in enforcing the law. The facts of this case support the use of the full range of those

 equitable powers in order to remediate the harm to human health and the environment caused by

 Cinergy’s failure to obey the law. In any event, there is no reason to preclude such evidence and

 argument at this early stage of the remedy litigation.

 I.     The Court’s Broad Equitable Authority Includes The Power To Redress Cinergy’s
        Illegal Emissions

        Part of the foundation of the equitable tradition is that a court sitting in equity has the

 discretion to employ any or all of the equitable remedies necessary to achieve complete justice.

 This fundamental principle came from the English common law tradition and has been part of

 American legal doctrine since the founding of the republic. A court’s equitable authority is only

 curtailed by a clear signal from Congress, and Congress imposed no such restraint here.

        Cinergy entirely inverts this system by arguing that Congress must explicitly allow a

 given remedy for courts to employ it. Cinergy simply ignores the fundamental premise that,

 unless restricted, courts have at their disposal a complete set of equitable remedies. In addition,

 Cinergy relies on a strained interpretation of the statutory language to conclude that the phrase

 “any other appropriate relief” in the Clean Air Act enforcement provision means – in fact – no

 additional relief. Cinergy’s reading cannot withstand scrutiny.



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        Congress has done nothing to curtail the authority of district courts in actions under the

 Clean Air Act. In fact, the language of the enforcement provision, as interpreted by the courts,

 confirms that this Court has all the traditional remedies of equity at its disposal.

        A.      The Court Has Broad Equitable Authority

        The Court’s equitable authority in this case does not come from the Clean Air Act, but is

 inherent in the Court’s equitable jurisdiction itself. “For several hundred years, courts of equity

 have enjoyed sound discretion to consider the necessities of the public interest when fashioning

 injunctive relief.” United States v. Oakland Cannabis Buyers’ Co-op., 532 U.S. 483, 496 (2001)

 (internal citations and quotation marks omitted). This tradition can be traced throughout

 American history back to English common law. Franklin v. Gwinnett County Pub. Schools, 503

 U.S. 60, 66-67 (1992). Unless specifically curtailed by Congress, “all the inherent equitable

 powers of the District Court are available for the proper and complete exercise of [its equitable]

 jurisdiction.” Porter v. Warner Holding Co., 328 U.S. 395, 398 (1946) (quoted in, inter alia,

 Town of Munster, Ind. v. Sherwin-Williams Co., Inc., 27 F.3d 1268, 1271 (7th Cir. 1994)).

 Indeed, “the court may go beyond the matters immediately underlying its equitable jurisdiction

 and decide whatever other issues and give whatever other relief may be necessary under the

 circumstances. Only in that way can equity do complete rather than truncated justice.” Porter,

 328 U.S. at 398. The traditional equitable authority lodged in the district court includes the

 power to enjoin otherwise lawful conduct as necessary to mitigate past harm from violations of

 law. See, e.g., Garrison v. Baker Hughes Oilfield Operations, Inc., 287 F.3d 955, 961 (10th Cir.

 2002) (“‘A federal court’s equity jurisdiction affords it the power to enjoin otherwise lawful

 activity when necessary and appropriate in the public interest to correct or dissipate the evil

 effects of past unlawful conduct.’”) (quoting United States v. Holtzman, 762 F.2d 720, 724-25




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 (9th Cir. 1985)) (further citations omitted). By allowing courts to “grant additional injunctive

 relief . . . remedying harm caused by [defendants’] past violations,” equity “gives meaning to the

 statute’s grant of enforcement authority.” Atlantic Salmon, 339 F.3d at 31.

        The traditional equitable discretion vested in the district court can only be

 abrogated by

        a clear and valid legislative command. Unless a statute in so many words, or by a
        necessary and inescapable inference, restricts the court’s jurisdiction in equity, the
        full scope of that jurisdiction is to be recognized and applied. The great principles
        of equity, securing complete justice, should not be yielded to light inferences, or
        doubtful construction.

 Porter, 328 U.S. at 398 (internal citations and quotation marks omitted) (emphasis added); see

 also Romero-Barcelo, 456 U.S. at 313; Oakland Cannabis Buyers’ Co-op., 532 U.S. at 496;

 Town of Munster, 27 F.3d at 1271 (“Of course, Congress may intervene and guide or control the

 exercise of the courts’ discretion, but the Supreme Court has taught that we should not lightly

 assume that Congress has intended to depart from established principles.”) (internal citations and

 quotation marks omitted).

        A district court’s equitable authority is at its apex when the public interest is involved. In

 such cases, a district court’s “equitable powers assume an even broader and more flexible

 character than when only a private controversy is at stake.” Porter, 328 U.S. at 398 (citing

 Virginian Ry. Co. v. System Federation No. 40, 300 U.S. 515, 552 (1937)); see also United States

 v. Lane Labs-USA Inc., 427 F.3d 219, 231 (3d Cir. 2005) (quoting Porter); United States v.

 Miami Univ., 294 F.3d 797, 819 (6th Cir. 2002) (“Courts of equity may, and frequently do, go

 much farther both to give and withhold relief in furtherance of the public interest than they are

 accustomed to go when only private interests are involved.”) (quoting Virginian Railway, 300

 U.S. at 552). Statutes like the Clean Air Act that are devoted to, among other goals, protecting




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 public health provide a compelling justification for expansive injunctive relief. Once a violation

 has been found, “[T]he Court has the responsibility in this case of crafting a remedy that is

 protective of public health, and this responsibility necessarily takes preeminence over all other

 considerations.” United States v. Alisal Water Corp., 326 F. Supp. 2d 1010, 1027 (N.D. Cal.

 2002) (Safe Drinking Water Act case) (emphasis added).

          B.     The Clean Air Act Supports Broad Equitable Authority

          Despite Cinergy’s best efforts, addressed specifically in Section C below, nothing in the

 language or purpose of the Clean Air Act provides any clue – to say nothing of the “necessary

 and inescapable inference” required – that Congress intended to curtail the Court’s injunctive

 authority. To the contrary, the statute confirms that the full array of remedies is to be considered

 – as Cinergy itself has argued in another setting.3 Moreover, while no court has definitively

 addressed the precise question at issue, numerous courts have considered similar provisions and

 concluded that their equitable authority remained comprehensive.

                 1.      The statute itself affirms the Court’s broad equitable authority

          The Clean Air Act enforcement provision applicable to this case is facially broad and

 must be given an expansive interpretation to ensure that the purposes of the statute are fulfilled.

 Section 113(b) states that the applicable district court

          shall have jurisdiction to restrain such violation, to require compliance, to assess
          such civil penalty, to collect any fees owed the United States under this chapter
          (other than subchapter II of this chapter) and any noncompliance assessment and
          nonpayment penalty owed under section 7420 of this title, and to award any other
          appropriate relief.

 42 U.S.C. § 7413(b) (emphasis added). On its face, the phrase “award any other appropriate

 relief” is clear and matches the Court’s inherent equitable discretion. The use of the word

 “award” further supports the idea that “any other appropriate relief” includes more than ordering
 3
     See Section D below.


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 compliance and penalties. The word “award” implies a benefit to the plaintiff and/or the

 environment rather than merely an order against the defendant. Courts do not speak of

 “awarding” an injunction, rather courts traditionally speak of “awarding” things like damages,

 restitution, compensation, costs, fees, etc. Here the relief Plaintiffs seek is akin to restitution –

 measured not in money but in tons of pollution emitted and now reduced.

         Moreover, the phrase “award any other appropriate relief” should be interpreted broadly

 for at least two reasons. First, the Supreme Court has instructed that statutes are to be construed

 “‘in favor of that interpretation which affords a full opportunity for equity courts to treat

 enforcement proceedings . . . in accordance with their traditional practices, as conditioned by the

 necessities of the public interest which Congress has sought to protect.’” Romero-Barcelo, 456

 at 320 (quoting Hecht Co. v. Bowles, 321 U.S. 321, 330 (1944)). Second, Congress intended to

 give EPA broad enforcement authority through Section 113, and the language of the provision

 should be read with that purpose in mind. United States v. Marine Shale Processors, 81 F.3d

 1329, 1354 (5th Cir. 1996).

         The purpose of the Clean Air Act (and in particular the PSD program) supports a broad

 enforcement provision that is tailored to protecting human health and the environment. As

 described above, Congress enacted the PSD program to “add[] protection to air quality,” Duke

 Energy, 127 S. Ct. at 1429, and “to protect public health and welfare from any actual or potential

 adverse effect in which the Administrator’s judgment may reasonably be anticipate[d].” 42

 U.S.C. § 7470. The means Congress selected to achieve this goal was the PSD permitting

 program, which required that, inter alia, each source install top-of-the-line pollution controls

 when first built or modified. A critical element of the statutory formula is the pre-construction

 permit requirement: the permit must be obtained before the construction or modification begins




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 so that the permitting authority can ensure that air quality and public health will not deteriorate

 as a result of the project. 42 U.S.C. § 7475. The pre-construction emphasis of PSD is also

 reflected in Section 167, 42 U.S.C. § 7477, which allows EPA or states to issue orders or seek

 injunctions preventing the commencement of construction or modification without complying

 with the PSD rules.

         Given that Cinergy has long since violated the statute by failing to obtain pre-

 modification permits, the only way to redeem the statutory purpose is through the exercise of this

 Court’s equitable authority. The Supreme Court “long ago recognized, there is inherent in the

 Courts of Equity a jurisdiction to . . . give effect to the policy of the legislature.” Mitchell v.

 Robert DeMario Jewelry, Inc., 361 U.S. 288, 292 (1960) (internal citations and quotation marks

 omitted); see also United States v. Lane Labs-USA Inc., 427 F.3d 219, 225 (3d Cir. 2005)

 (same); New York v. Niagra Mohawk Power Corp., 263 F. Supp. 2d 650, 663 (W.D.N.Y. 2003)

 (defendant’s “initial failure to comply with the requirements of the Clean Air Act cannot now

 inure to its benefit.”). In crafting the proper remedy in equity “courts must act primarily to

 effectuate the policy of the [act] and to protect the public interest while giving necessary respect

 to the private interests involved.” Porter, 328 U.S. at 400.

         Cinergy’s narrow construction of the Court’s equitable authority would limit the

 remedies available to penalties and prospective relief. This does nothing to redress the

 harm from the additional pollution already emitted that would have been avoided had

 Cinergy followed the law. Such a limited remedy does not “give effect” to the clearly

 stated statutory policy of controlling emissions as of the time of modification.




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                2.      Prior decisions under federal environmental law

        Many courts have found that similar – or arguably narrower – language in other

 environmental provisions does not curtail equitable authority. As the First Circuit has explained

 in the context of a Clean Water Act enforcement case, “Injunctive remedies for past harm

 commonly dictate future conduct so as to mitigate past harm.” Atlantic Salmon, 339 F.3d at 33

 (emphasis added).

        The Ninth Circuit has already determined that the Clean Air Act incorporates the courts’

 traditional equitable authority in motor vehicle enforcement cases. The Clean Air Act has

 separate sets of provisions for stationary sources, like power plants, and mobile sources, like

 cars. In a case interpreting the Clean Air Act enforcement provision for vehicles, the Ninth

 Circuit found that a statutory grant of authority solely to “restrain violations” did not narrow the

 district court’s equitable authority. Holtzman, 762 F.2d at 724-725. In Holtzman, the defendant

 argued that where the statute authorized district courts to “restrain violations” it precluded them

 from “enjoining lawful activity.” Id. at 724. The Ninth Circuit disagreed, finding that district

 courts have the inherent equitable authority to “enjoin otherwise lawful activity when necessary

 and appropriate in the public interest to correct or dissipate the evil effects of past unlawful

 conduct,” and that the “restrain violations” language of the statute did nothing to curtail the

 courts’ equitable powers. Id. at 724-725. Notably, the statutory provision analyzed in Holtzman

 is, if anything, narrower than that at issue here: Section 204(a) of the Clean Air Act explicitly

 mentions only the power to “restrain violations” while Section 113(b) also sets forth the power to

 require compliance, assess civil penalties, collect fees, and “award any other appropriate relief.”

 Compare 42 U.S.C. § 7523(a) with 42 U.S.C. § 7413(b). Moreover, there is no reason to believe




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 that Congress intended courts to have a broader array of available remedies in enforcement

 actions related to motor vehicles than those related to stationary sources like power plants.

        Courts have also held that they have the authority to order remediation for violations of

 the Clean Water Act. The Clean Water Act states that the United States may seek “appropriate

 relief” and explicitly confers jurisdiction for courts to “restrain such violation and to require

 compliance.” 33 U.S.C. § 1319(b). In a case where the defendants failed to obtain a permit

 before a citizen suit was filed, the First Circuit held that the district court could remediate the

 prior violations by entering an injunction that was more stringent than permit requirements. See

 generally Atlantic Salmon, 339 F.3d 23. Defendants obtained a general permit from the state

 during the course of the litigation, and then argued to the First Circuit that the district court could

 not impose injunctive relief that went beyond that required in the state permit. Id. at 27, 30-31.

 The First Circuit held that

        the court may grant additional injunctive relief governing the post-permit
        operations of the companies insofar as the court is remedying harm caused by
        their past violations. . . Conventionally, a court’s equitable power to enforce a
        statute includes the power to provide remedies for past violations-an area in which
        the courts have settled authority and competence.

 Id. at 31 (citing Romero-Barcelo, 456 U.S. at 313; Porter, 328 U.S. 398). Courts have

 also noted that Clean Water Act injunctions could require defendants to pay money into a

 remedial fund designed to address the harm from their pollution. Public Interest

 Research Group of New Jersey, Inc. v. Powell Duffryn Terminals Inc., 913 F.2d 64, 82

 (3d Cir. 1990).

        Similarly, numerous courts have ordered the restoration of wetlands under the Clean

 Water Act. Courts have repeatedly found that they have the authority to order defendants

 responsible for destroying wetlands to take steps necessary to return the terrain to its natural state




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 and thus undo the harm from their violations. For instance, the First Circuit upheld an injunction

 that required the defendant to: 1. reestablish the prior topography; 2. raise the water table to prior

 levels; and 3. spread strips of vegetation from neighboring wetlands to aid in regenerating

 species diversity. United States v. Cumberland Farms of Connecticut, 826 F.2d 1151, 1164-65

 (1st Cir. 1987). Once its equitable jurisdiction is invoked, the court need not simply order

 compliance with the law, but should evaluate whether the proposed remedy “(1) . . . would

 confer maximum environmental benefits, (2) . . . is “achievable as a practical matter,” and (3) . . .

 bears an equitable relationship to the degree and kind of wrong it is intended to remedy.” United

 States v. Deaton, 332 F.3d 698, 714 (4th Cir. 2003) (internal citations and quotation marks

 omitted). The Deaton court upheld an injunction that required more than defendants would have

 had to do if they had simply obtained a permit before the violations. Deaton, 332 F.3d at 713-14.

        The foundational issue of the courts’ authority has rarely been controversial in wetlands

 cases: “There can be no doubt that this court has the power under the Clean Water Act to order

 the restoration proposed by the Government.” United States v. Ciampitti, 615 F. Supp. 116, 122

 (D.N.J. 1984); see also Cumberland Farms, 826 F.2d at 1164 (court has “authority to issue such

 restorative orders so as to effectuate the stated goals of the Clean Water Act to maintain the

 chemical, physical, and biological integrity of the Nation’s waters”) (internal quotation marks

 omitted); United States v. Van Leuzen, 816 F. Supp. 1171, 1180 (S.D. Tex. 1993) (“the duty to

 restore an intentionally filled wetland is mandatory, absent equities”); Leslie Salt Co. v. United

 States, 820 F. Supp. 478, 484 (N.D. Cal. 1992) (“[t]he United States is entitled to injunctive

 relief which restores the property at the points of violation to essentially their pre-existing

 condition”) (internal quotation marks omitted), aff’d, 55 F.3d 1388 (9th Cir. 1995); United States

 v. Banks, 115 F.3d 916, 918 (11th Cir. 1997) (defendant ordered “to restore the wetlands to their




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 undisturbed condition before such unlawful discharges by removing the fill and otherwise

 implementing a restoration plan.”); United States v. Larkins, 657 F. Supp. 76, 86 & n.25 (W.D.

 Ky. 1987), aff’d, 852 F.2d 189 (6th Cir. 1988) (United States was “entitled to restoration” of site

 and noting “numerous precedents for restoration.”).

        Judge Sharp reached the same conclusion in a different type of Clean Water Act case. In

 United States v. Alcoa, Inc., the defendant regularly emitted pollution in excess of its permit

 limits into a nearby ditch that eventually flowed into the Wabash River. 98 F. Supp. 2d 1031,

 1032 (N.D. Ind. 2000). The United States sought penalties and an injunction for future

 compliance along with an order requiring the defendant to develop and carry out a plan to

 remediate the contamination in the affected waters. Id. at 1033. In denying a motion to dismiss

 the remediation claim, Judge Sharp found that the “require compliance” language in the

 enforcement provision was “broad enough to include the mandated clean up of contaminated

 sediments where the sediments are contaminated as a direct result of NPDES Permit violations.”

 Id. at 1039; see also United States v. Outboard Marine Corp., 549 F. Supp. 1036, 1039 (N.D. Ill.

 1982) (finding court had authority to order cleanup of past pollution under Clean Water Act).

 Notably, in Alcoa the parties did not dispute that the phrase “appropriate relief” left undisturbed

 “the full range of traditional injunctive relief.” 98 F. Supp. 2d at 1036.

        The Clean Water Act precedent is particularly relevant to the instant case for two

 interrelated reasons. First, the Clean Water Act is closely related in language, structure, and

 purpose to the Clean Air Act. See, e.g., Southern Ohio Coal Co. v. Office of Surface Min.,

 Reclamation & Enforcement, 20 F.3d 1418, 1426 (6th Cir. 1994) (“The enforcement provisions

 of the CWA were modeled after the enforcement provisions of the Clean Air Act.”) (citing

 Southern Pines Assocs. v. United States, 912 F.2d 713, 716 (4th Cir. 1990) (citing S.Rep. No. 92-




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 414 at 63 (1971), reprinted in 1972 U.S.C.C.A.N. 3668, 3730)). Given the relationship between

 the statutes, it is simply illogical to conclude that Congress intended a narrower range of

 equitable remedies under the Clean Air Act than under the Clean Water Act. Second, much of

 the Clean Water Act precedent finding judicial authority to order remediation was issued before

 Congress amended the Clean Air Act in 1990 to make more explicit the broad equitable

 enforcement authority possessed by district courts. See United States v. Sexton Cove Estates,

 Inc., 526 F.2d 1293, 1301 (5th Cir. 1976); United States v. Weisman, 489 F. Supp. 1331, 1343

 (M.D. Fla. 1980), aff’d, 632 F.2d 891 (5th Cir. 1980); Outboard Marine, 549 F. Supp. 1036

 (1982 case); United States v. Bradshaw, 541 F. Supp. 884, 886 (D. Md. 1982); United States v.

 Carter, Nos. 81-981-Civ-JWK, 81-982-Civ-JWK, 1982 U.S. Dist. Lexis 18092, at *9-10 (S.D.

 Fla. Dec. 21, 1982) (Attachment B); Ciampitti, 615 F. Supp. at 122 (1984: “There can be no

 doubt that this court has the power under the Clean Water Act to order the restoration proposed

 by the Government.”); Larkins, 657 F. Supp. at 86 & n. 25 (1987 decision noting “numerous

 precedents for restoration”); Cumberland Farms, 826 F.2d 1151 (1987). With cases going all the

 way back to 1976, it is reasonable to presume that Congress was aware of this line of precedent

 in passing the 1990 Clean Air Act amendments. See, e.g., North Star Steel Co. v. Thomas, 515

 U.S. 29, 34 (1995) (“it is not only appropriate but also realistic to presume that Congress was

 thoroughly familiar with [our] precedents ... and that it expect[s] its enactment[s] to be

 interpreted in conformity with them.”) (quoting Cannon v. University of Chicago, 441 U.S. 677,

 699 (1979)); United States v. LeCoe, 936 F.2d 398, 403 (9th Cir.1991) (“Congress is, of course,

 presumed to know existing law pertinent to any new legislation it enacts.”). Had Congress

 objected to the interpretation of the Clean Water Act enforcement provision, it surely would not

 have amended the Clean Air Act language in 1990 to make it even broader.




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         Courts have also found broad equitable authority under the Safe Drinking Water Act.

 The Ninth Circuit upheld a district court’s order requiring divestiture of certain defendant water

 providers. United States v. Alisal Water Corp., 431 F.3d 643 (9th Cir. 2005). The court found

 no statutory language limiting the court’s authority, and so concluded that the statute

 “incorporate[d] the full panoply of the court’s equitable powers.” Id. at 654; see also United

 States v. Massachusetts Water Res. Auth., 48 F. Supp. 2d 65, 71-72 (D. Mass. 1999) (similar).

         There is ample authority in federal environmental law for an order requiring Cinergy to

 take actions to redress the harmful effects of its illegal pollution.

                 3.      Decisions interpreting non-environmental federal statutes

         There are also numerous cases outside the environmental arena in which courts have

 interpreted similar or arguably narrower enforcement language to be consistent with traditional

 equitable authority. Without attempting to catalog all such cases, Plaintiffs highlight a few lines

 of precedent below.

         In Porter, the Supreme Court interpreted a statute with language similar to that at issue

 here, and found that the Emergency Price Controls Act (“EPCA”) did not curtail courts’

 equitable authority. The EPCA was a World War II era measure designed to combat inflation,

 and the government was seeking restitution of rent collected above maximum levels. Porter, 328

 U.S. at 396-97. The statute stated that courts could order a “permanent or temporary injunction,

 restraining order, or other order.” Id. at 397. The Court found that restitution was appropriate

 because it “restor[ed] the status quo [by] ordering the return of that which rightfully belongs to

 the purchaser or tenant.” Id. at 402. The Court continued that such a remedy “is within the

 recognized power and within the highest tradition of a court of equity.” Id. The statutory

 language under the EPCA is very similar to the corresponding Clean Air Act passage, and in




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 both cases a remedy that removes additional profits or pollutants directly serves the goals of the

 law.

        Courts have also found that the Food, Drug, and Cosmetic Act (“FDCA”) invokes the full

 equitable authority of district courts. The FDCA has more limited language than the Clean Air

 Act: it explicitly authorizes courts to “restrain violations.” 21 U.S.C. § 332(a). That authority is

 sufficient to “invoke[] courts’ general equity jurisdiction.” United States v. Rx Depot, 438 F.3d

 1052, 1061 (10th Cir. 2006); see also United States v. Lane Labs-USA Inc., 427 F.3d 219, 220

 (3d Cir. 2005) (holding FDCA supports retrospective remedy); United States v. Universal Mgmt.

 Srvs., Inc., Corp., 191 F.3d 750, 761-62 (6th Cir. 1999) (similar). Notably, Congress harked to

 the FDCA in passing the Clean Air Act, so this precedent is particularly relevant. See H. Rep.

 No. 95-294 at 70-71, reprinted in 1977 U.S.C.C.A.N. 1148-49 (“Like the Food, Drug, and

 Cosmetic Act on which the Clean Air Act is patterned in many respects, the Clean Air Act is

 intended to deal with activities which touch phases of the lives and health of people.”). The

 Supreme Court similarly held that the power to “restrain violations” in the Fair Labor Standards

 Act did not curtail courts’ equitable authority. Mitchell, 361 U.S. at 289, 296.

        Another line of cases has found that disgorgement and restitution are available under

 various statutes with enforcement language similar or less expansive than that of the Clean Air

 Act. The Security Exchange Act explicitly referenced authority to issue orders for compliance;

 that invocation of equitable authority sufficed to make disgorgement available. S.E.C. v. First

 City Financial Corp., Ltd., 890 F.2d 1215, 1230 (D.C. Cir. 1989) (“Disgorgement, then, is

 available simply because the relevant provisions of the Securities Exchange Act of 1934. . . vest

 jurisdiction in the federal courts.”); see also FTC v. Gem Merch. Corp., 87 F.3d 466, 468-70

 (11th Cir. 1996) (holding restitution available as remedy under Federal Trade Commission Act);




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 ICC v. B & T Transp. Co., 613 F.2d 1182, 1183-86 (1st Cir. 1980) (holding restitution available

 as remedy under Motor Carrier Act); CFTC v. Hunt, 591 F.2d 1211, 1221-23 (7th Cir. 1979)

 (holding disgorgement available as remedy under Commodity Exchange Act).

         The fact that no court has yet extended this conclusion to Section 113(b) is hardly

 surprising given that – as the United States informed the Court at the liability trial in this case –

 no similar New Source Review enforcement case has yet proceeded to a remedy trial. Instead,

 the prior litigated cases have settled, and every NSR power plant settlement reached with the

 United States to date has included a mitigation component. While the settlements do not

 represent judicial precedent, they do suggest that the parties believe mitigation is available under

 the statute. See Alcoa, 98 F. Supp. 2d at 1034 (taking note of settlements of similar claims).

         C.      Cinergy Fails To Show Congressional Intent To Restrict Court’s Authority

         Cinergy makes three distinct attempts to argue that Congress implicitly restricted the

 traditional equitable authority of district courts. Each of these arguments, however, is based on

 the unstated and fundamentally flawed premise that Congress must articulate a remedy for the

 Court to order that type of relief. In reality, as discussed above, the opposite is true: district

 courts have their traditional equitable authority unless Congress restricts that power “in so many

 words, or by a necessary and inescapable inference.” Porter, 328 U.S. at 398; see also Rx Depot,

 438 F.3d at 1059 (“Defendants and amicus fail to recognize that by granting courts general

 equity jurisdiction, Congress authorized all traditional equitable remedies.”). At best, all Cinergy

 has to offer are the “light inferences [and] doubtful construction” that cannot be allowed to

 preclude the equitable pursuit of “complete justice.” Porter, 328 U.S. at 398.




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                 1.     The statutory language does not limit equitable authority

        Cinergy argues that the language of Section 113(b) cannot be squared with redressing the

 past harm from Cinergy’s illegal emissions. As a preliminary matter, this inverts the inquiry by

 suggesting that the Court’s authority must be specified in the statute rather than simply not

 precluded. Even on its own merits, however, Cinergy’s reading of the statutory language is

 unpersuasive.

        There are three potential sources of authority in Section 113(b) for a court to order

 mitigation: it could be described as restraining a violation, requiring compliance, or qualifying as

 any other appropriate relief. Cf. Doc. # 1365 (“Cin. Br.”) at 3. The relief sought here by

 Plaintiffs fits comfortably within “any other appropriate relief” (or requiring compliance or

 restraining violations, as described above with Alcoa, Mitchell, and the FDCA cases). Cinergy

 states that interpreting the phrase “any other appropriate relief” requires looking at the “overall

 language, structure and purpose of the statute.” Cin. Br. at 3. However, Cinergy fails to even

 discuss the “overall language, structure and purpose of the statute” choosing instead to focus on a

 handful of provisions without any discussion of the purpose of the law.

        Cinergy’s interpretation of its selected statutory provisions is not compelling, beginning

 with its reading of Section 113(b). Its reliance on a pair of canons of statutory construction

 proves too much: if – as Cinergy would have it – the phrase “any appropriate relief” simply

 authorizes “orders effectuating whatever ‘restraint[s],’ ‘compliance,’ or ‘penalt[ies]’ a Court

 chooses to impose,” then the other appropriate relief language is unnecessary. See Cin. Br. at 4.

 This would, of course, violate another rule of statutory interpretation: the “deep reluctance to

 interpret a statutory provision so as to render superfluous other provisions.” See, e.g.,

 Pennsylvania Dept. of Public Welfare v. Davenport, 495 U.S. 552, 562 (1990) (cited in Cin. Br.




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 at 4). Canons of construction are only useful to the extent they serve “to help judges determine

 the Legislature’s intent as embodied in particular statutory language” and it is hardly unusual for

 canons to be contradicted by others “pointing in a different direction.” Chickasaw Nation v.

 United States, 122 S. Ct. 528, 535 (2001).

        Cinergy’s argument must fail because it contradicts the plain meaning of the phrase any

 other appropriate relief. The Supreme Court reached the same conclusion in evaluating the

 phrase “any other final action” in another provision of the Clean Air Act related to review of

 EPA decisions. There, the Court rejected the ejusdem generis concept that Cinergy relies on,

 finding that by saying “any other final action” Congress did not intend to limit the term by the

 specific items listed. Harrison v. PPG Industries, Inc., 446 U.S. 578, 589 (1980). The Court’s

 reasoning is equally applicable to this situation:

        [The] expansive language offers no indication whatever that Congress intended
        [a] limiting construction . . . Rather, we agree with the petitioners that the phrase,
        ‘any other final action,’ in the absence of legislative history to the contrary, must
        be construed to mean exactly what it says, namely, any other final action.

 Id.

        Cinergy next attempts to use a statutory limit on mitigation for citizen suits as a tacit

 limitation on mitigation sought by the government. See Cin. Br. at 5. Instead, the citizen suit

 provision, which explicitly authorizes limited mitigation from funds that would otherwise go to

 the U.S. Treasury as penalty, simply illuminates the flaws in Cinergy’s argument in at least two

 interrelated ways. See 42 U.S.C. § 7604(g)(2), The fact that Congress found it necessary to limit

 the citizen suit mitigation implies that without an explicit limit the courts’ traditional authority is

 intact. This is particularly true in light of the role Congress assigned to EPA and citizens,

 respectively. Given that Congress intended for EPA to have primary enforcement duties and

 citizens to have only a supplementary role, it would be nonsensical for citizens to have the right



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 to obtain mitigation while EPA lacked that authority. See Alaska Dept. of Envt’l Conservation v.

 E.P.A., 540 U.S. 461, 490 (2004) (“Congress, however, vested EPA with explicit and sweeping

 authority to enforce CAA ‘requirements’ relating to the construction and modification of sources

 under the PSD program, including BACT.”); Ellis v. Gallatin Steel Co., 390 F.3d 461, 475 (6th

 Cir. 2004) (“Congress has authorized citizen suits only when environmental officials ‘fail to

 exercise their enforcement responsibility’ and has provided an ‘interstitial’ role for private

 parties in enforcing the statute.”) (quoting Gwaltney of Smithfield, Ltd. v. Chesapeake Bay

 Found., Inc., 484 U.S. 49, 60-61 (1987)).

        Finally, Cinergy attempts to suggest that the Clean Air Act creates a “comprehensive and

 reticulated” remedial scheme such that it implicitly foreclosed the use of traditional equitable

 remedies. Cin. Br. at 5-6 (quoting United States v. Philip Morris USA, Inc., 396 F.3d 1190, 1200

 (D.C. Cir. 2005)). In Philip Morris, the sole case Cinergy relies upon for this point, the court

 found that the Racketeer Influenced and Corrupt Organizations Act (“RICO”) provided a

 “comprehensive and reticulated remedial scheme” by allowing for (i) criminal remedies

 including fines, imprisonment, and forfeiture of illegal proceeds and (ii) treble damages to make

 plaintiffs whole and punish violators. Philip Morris, 396 F.3d at 1200. The court noted that if

 disgorgement was also permitted, it would lead to “issues of duplicative recovery.” Id. at 1201

 (citing Holmes v. Securities Investor Protection Corp., 503 U.S. 258, 269 (1992)). Under the

 Clean Air Act, by contrast, there are no other means outside Section 113(b) to remedy the harm

 caused by years of illegal pollution. Thus there is no “comprehensive and reticulated” remedial

 scheme to provide the “inescapable inference” that Congress intended to restrict the courts’

 equitable authority. Id. at 1197 (citing Porter, 328 U.S. at 398). Moreover, the Philip Morris

 court noted that the remedies explicitly granted in the provision at issue were “all directed




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 toward future conduct,” making a retrospective remedy suspect. Philip Morris, 396 F.3d at

 1200. The Clean Air Act explicitly includes both prospective and retrospective relief (such as

 penalties and fees), making the Philip Morris conclusion inapplicable. See RX Depot, 438 F.3d

 at 1059 (noting Philip Morris relied on fact that specified statutory remedies were forward-

 looking).

                2.      The legislative history fails to support Cinergy’s argument

        Faced with a presumption that full equitable powers remain and plain statutory language

 that allows any appropriate relief, Cinergy resorts to a selective reading of the legislative history

 of the statute. Looking to the legislative history is not necessary here, where the statute and the

 underlying equitable tradition are clear. See, e.g., Newsom v. Friedman, 76 F.3d 813, 816 (7th

 Cir. 1996). Even if the legislative history is considered, it says nothing to contradict the Court’s

 equitable authority as affirmed by the clear statutory language.

        The Senate Report Cinergy relies upon devotes a single sentence to the any other

 appropriate relief clause of the statute. Cinergy argues that the construction of the report’s

 sentence – which states that courts are authorized to award any other appropriate relief “when

 considering” whether to order other injunctive relief or penalties – implies that the authority is

 related only to penalties, restraining violations, or requiring compliance. S. Rep. No. 101-228 at

 359 (Dec. 20, 1989). Cinergy’s reading is hardly compelled by the language; a more reasonable

 interpretation would be that the intent was simply that the Court would decide all penalty and

 injunctive relief issues at the same time. In any event, there is no clear meaning to the Senate

 report statement that could overcome the equitable background and unambiguous statutory

 language discussed above. See, e.g., Peare v. McFarland, 778 F.2d 354, 357 (7th Cir. 1985)




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 (“[T]he plainer the [statutory] language, the more convincing contrary legislative history must

 be.”) (quoting United States v. United States Steel Corp., 482 F.2d 439, 444 (7th Cir. 1973)).

        Cinergy’s other legislative history argument fails to withstand scrutiny. The committee

 report language Cinergy attempts to rely on, see Cin. Br. at 7, referred solely to a provision

 broadening the violations for which enforcement could be sought, not what remedies would be

 available. S. Rep. No. 101-228 at 361 (Dec. 20, 1989). Thus the other statutes Cinergy cites are

 immaterial to the interpretation of “any other appropriate relief.”

                3.      Cinergy’s reference to other statutes is unavailing

        Cinergy attempts to argue that the language of other federal environmental statutes

 implies that Congress implicitly restricted the remedies available under the Clean Air Act. See

 Cin. Br. at 8-9. This flies in the face of the precedent cited above requiring either an explicit

 statement or “a necessary and inescapable inference” to restrict the courts’ authority, Porter, 328

 U.S. at 398, and the numerous cases cited above in which courts have found no such restriction.

        Moreover, Cinergy relies on a misreading of the Clean Water Act to conclude that the

 statute has an explicit mitigation authorization provision. The provision Cinergy cites is

 applicable only to discharges of oil and hazardous substances, not to the entire set of pollutants

 regulated by the Clean Water Act. See Cin Br. at 8 (citing 33 U.S.C. § 1321(b)(9)); see also 33

 U.S.C. §§ 1321(b) (setting special restrictions for oil and hazardous substances), 1362(6)

 (defining “pollutants”). Cinergy’s confusion renders its entire argument infirm: it cannot explain

 why the Clean Water Act supports mitigation beyond discharges of oil and hazardous substances

 – as described in numerous cases above – but the Clean Air Act should not.

        If anything, the Clean Air Act enforcement provision is arguably broader than that under

 the Clean Water Act, though Plaintiffs believed they should be interpreted to have coextensive




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 scope. Unlike the Clear Air Act, the applicable Clean Water Act enforcement provision is

 broken into two sentences, the first granting the authority to seek “all other appropriate relief,”

 and the second granting the courts jurisdiction to “restrain such violation and to require

 compliance.” Compare 42 U.S.C. § 7413(b) with 33 U.S.C. § 1319(b). In a passage cited by

 Cinergy, the Alcoa court indicated that the second sentence limited the first. 98 F. Supp. 2d at

 1036 (cited in Cin. Br. at 4). Of course, Cinergy failed to report the holding of Alcoa, described

 above. And the Alcoa language Cinergy does cite is based on an element of the Clean Water Act

 without parallel in the Clean Air Act.

        Finally, the cases Cinergy cites for the proposition that Congress’s failure to enumerate a

 given remedy precludes the court from using it are simply not applicable. See Cin Br. at 9.

 Medellin v. Texas, 128 S. Ct. 1346 (2008), is particularly far afield: it does not involve the

 courts’ equitable authority at all, but instead the effect of a judgment from the International Court

 of Justice. The other two cases Cinergy cited involved the available remedies for private citizens

 under federal environmental statutes; citizen suits are authorized separately and without broad

 “any other appropriate relief” style language, and so are not relevant to the interpretation of the

 provisions at issue in this case. In the American Electric Power NSR enforcement case,

 Magistrate Judge Kemp found that Middlesex County was “simply inapposite” to the scope of

 equitable relief available. United States v. American Electric Power, 99-cv-1182, slip op. at 6

 (S.D. Ohio June 30, 2006) (Attachment C); aff’d slip op. at 7 (S.D. Ohio Oct. 12, 2006)

 (Attachment D). Similarly, the Meghrig decision was based on the language and purpose of the

 Resource Conservation and Recovery Act (“RCRA”) and its relationship to other environmental

 statutes providing complementary relief, so Meghrig did not alter the “general rule” established

 by Porter. Rx Depot, 438 F.3d at 1057 (detailing foundations for Meghrig holding and




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 concluding “rather than overruling or limiting Porter’s and Mitchell’s general rule that a grant of

 equity jurisdiction enables courts to order any form of equitable relief, Meghrig merely

 demonstrates that a statute’s particular characteristics may preclude application of the rule.”)

 (emphasis added).

        D.      Cinergy Has Argued Elsewhere that Courts Can Order Clean Air Act
                Mitigation

        In state insurance litigation related to coverage for costs associated with this case,

 Cinergy has taken a position diametrically opposed to its motion before this Court. There,

 Cinergy recently argued that the Clean Air Act does grant courts authority to order mitigation of

 past environmental harms and that it anticipates such a result in this case. In a brief filed with

 the Court of Appeals of Indiana in November 2007, Cinergy argued that, “‘Any other appropriate

 relief’ is not an equipment injunction ‘to require compliance.’ It includes environmental projects

 that mitigate past harm and even payment of money damages.” Cinergy Corp. v. St. Paul

 Surplus Lines Ins. Co., No. 32A01-0605-CV-218, 2007 WL 4349705 at *3 (Ind. App. Nov. 13,

 2007) (emphasis added) (Attachment E). Cinergy went on to describe mitigation projects

 required in the AEP settlement and state that they were the “‘other appropriate’ compensatory

 relief allowed by the CAA.” Id. In trying to secure insurance compensation for its defense costs

 in this case, Cinergy urged the Indiana courts to adopt Plaintiffs’ reading of the Clean Air Act.

 Given their own insurance litigation briefing, Defendants must concede that Plaintiffs’ reading of

 the statute is reasonable. If our reading is reasonable, Congress did not provide the “clear and

 valid legislative command” required to abrogate the courts’ equitable authority. See Porter, 328

 U.S. at 398.




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 II.    There Is No Reason To Preclude Mitigation At This Stage Of The Litigation

        Cinergy argues that even if the Court has the authority to redress the harm from

 Cinergy’s violations, it should deny mitigation without hearing any testimony or seeing any

 relevant evidence. While Cinergy offers several different arguments for this audacious

 proposition, it is both premature and without a valid basis.

         Summary judgment on whether to award mitigation is unripe at this point, as relevant

 discovery has not been completed and the question involves many issues of disputed facts. See,

 Ex. 6, Declaration of Justin Savage; Ex. 7, Supplemental Sealed Declaration of Justin Savage

 (collectively “Savage Decs.”). In order to make the issue of mitigation ripe for summary

 judgment, Cinergy would have to present undisputed evidence showing either that it emitted no

 more SO2 or NOX after the projects than before, or that its emissions caused no harm to human

 health or the environment. Cinergy has presented no evidence in support of its motion, however.

 Furthermore, the jury has already determined that the projects resulted in increased emissions,

 and Plaintiffs have filed with this brief and will continue to develop evidence that Cinergy’s

 emissions harmed human health and the environment. See Savage Decs.; Background section

 above. Cinergy essentially asks the Court to ignore any harm resulting from its illegal activity

 and decide on a limited remedy without hearing the facts.

        At issue is whether the Court should hear evidence regarding the harm from Cinergy’s

 illegal emissions. Cinergy argues that the Court should preclude mitigation of that harm without

 hearing the evidence – and that such a decision would avoid much discovery. See Cin. Br. at 10.

 Cinergy is incorrect. Harm would be relevant regardless of whether mitigation were at issue.

 See, e.g., United States v. Marine Shale Processors, 81 F.3d 1329, 1359 (5th Cir. 1996) (finding

 a traditional principle of equity that “when the United States or a sovereign state sues in its




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 capacity as protector of the public interest, a court may rest an injunction entirely upon a

 determination that the activity at issue constitutes a risk of danger to the public.”) (emphasis

 added); EPA v. Environmental Waste Control, 917 F.2d 327, 332 (7th Cir.1990). The proof

 Plaintiffs intend to present would be similar regardless of the issue of mitigation, and will show

 that Cinergy has harmed both human health and the environment through its illegal activity.

        Further, Cinergy is a $22.1 billion company that is a wholly owned subsidiary of a $49

 billion company – yet it complains that providing evidence related to the harm from its illegal

 emissions would be too costly. See Cin. Br. at 10. Through June 21, 2005 along, Cinergy has

 elected to spend $24 million litigating this case. See Cinergy Corp. v. St. Paul Surplus Lines Ins.

 Co., 873 N.E.2d 105, 108 (Ind. Ct. App. 2007). Now Cinergy cries poor after it has been found

 to have illegally polluted from three of its units over the course of nearly two decades. The harm

 these illegal emissions have visited on the public and the environment is eminently worthy of the

 full judicial process that Cinergy seeks to avoid in its newfound frugality. Indeed, addressing the

 harm caused by Cinergy’s violations is “within the highest tradition of a court of equity.”

 Wehner v. Syntex Corp., 682 F. Supp. 39, 40 (N.D. Cal. 1987) (citing Porter v. Warner Co., 328

 U.S. 395, 402 (1946)).

        In seeking to prevent the Court from hearing about the harm it has caused through its

 illegal emissions, Cinergy steps through the looking glass and blames Plaintiffs for those

 emissions. See Cin. Br. at 10-11. Cinergy’s argument amounts to, “If you had prosecuted us

 earlier, we would have stopped breaking the law earlier.” Even if true, this would not prevent

 Plaintiffs from seeking injunctive relief and mitigation. First, the Court has already dismissed

 Cinergy’s laches defense. Doc. # 412 (Order on the USA’s Motion for Partial Judgment on the

 Pleadings) at 16. Moreover, as this Court has noted, “[t]here is significant doubt about whether




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 the doctrine of laches applies to actions initiated by the United States.” United States v.

 SIGECO, No. IP 99-1692-C-M/F, 2003 WL 446280, at *3 (S.D. Ind. Feb. 18, 2005); see also

 United States v. Tortes, 142 F.3d 962, 966 (7th Cir. 1998) (“[i]t is well settled that the United

 States is not . . . subject to the defense of laches in enforcing its rights.”). The majority of courts

 that have examined this issue in the environmental context have dismissed laches claims against

 the government. See Park County Resource Council, Inc. v. United States Dep’t of Agric., 817

 F.2d 609, 617 (10th Cir. 1987), overruled on other grounds, Village of Los Ranchos De

 Albuquerque v. Marsh, 956 F.2d 970 (10th Cir. 1992) (“Nearly every circuit . . . and numerous

 district courts have recognized the salutary principle that ‘[l]aches must be invoked sparingly in

 environmental cases because ordinarily the plaintiff will not be the only victim of alleged

 environmental damage.’”). The rule that laches ought not to apply to the government when it

 acts in the public interest exists for good reason: the victims of overburdened government ought

 not be the citizens, and the spoils of overburdened government ought not accrue to those who

 break the law.

        Cinergy then claims that if it had known that its conduct was illegal, it would not have

 released the illegal emissions that now require mitigation. See Cin. Br. at 11. Although Cinergy

 once again claims that it did not know that its conduct was illegal, this Court has already found

 that “Cinergy had fair notice of the standards for determining whether its projects would cause a

 significant emissions increase for purposes of NSR.” Doc. # 940 (Order on Cross-Motions for

 Summary Judgment Regarding Fair Notice Defense) at 26. As this Court has noted, “had

 Cinergy made any inquiry it probably would not be facing the allegations at issue in this

 lawsuit.” Id. at 25. Indeed, there is ample evidence that Cinergy had actual notice of the

 requirements of the law. As Plaintiffs have described in greater length in prior briefing, a trade




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 group representing Cinergy and other utilities complained to the Department of Energy in 1989

 that, “A utility experiencing increased forced outages at its units due to equipment problems

 cannot undertake repairs … without applying for and receiving a PSD permit.” Ex. 8, Henry V.

 Nickel Letter to Polly Gault, June 5, 1989, at Attachment, p. 4. The claim that Cinergy would

 have produced fewer illegal emissions had it known its conduct was illegal is also belied by the

 fact that Cinergy took no steps to install controls or reduce emissions after the case was filed in

 1999.

         Finally, Cinergy stresses the fact that no court in any NSR case has ever ordered the type

 of retroactive mitigation that Plaintiffs have sought in the utility initiative cases. See Cin. Br. at

 11. Cinergy’s seems to assert that because no court has ordered mitigation, this Court should

 decline to do so – without hearing any supporting evidence. This argument is misleading,

 however, because all other defendants have settled prior to a remedy trial. It is noteworthy that

 all NSR power plant settlements include some form of mitigation for past harm.

                                           CONCLUSION

         There can be no dispute that Cinergy violated the Clean Air Act by performing

 modifications at the Wabash River plant in 1989 and 1990. As a result of its failure to comply

 with the NSR program, Cinergy emitted vastly more pollution from the offending units then it

 would have in compliance with the law. That pollution harmed human health and the

 environment, and this Court has ample authority to use its equitable powers to redress the harm

 from Cinergy’s emissions. To require only that Cinergy comply with the law going forward – as

 Cinergy argues – would essentially allow Cinergy an 18-year holiday from the Clean Air Act.

 Cinergy should not be allowed to have its “initial failure to comply with the requirements of the

 Clean Air Act . . . inure to its benefit.” New York v. Niagra Mohawk Power Corp., 263 F. Supp.




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 2d 650, 663 (W.D.N.Y. 2003). Most importantly, in keeping with the purpose of the Clean Air

 Act and the principles of equity, the people affected by Cinergy’s pollution deserve a remedy

 that redresses the illegal pollution that has impaired their health and the environment for the last

 two decades. Plaintiffs ask that the Court deny Cinergy’s motion and, after hearing the evidence

 at trial, exercise its authority to order relief redressing Cinergy’s violations of the law.



                                         Respectfully submitted,

 Dated: August 4, 2008                   RONALD J. TENPAS
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                                 CERTIFICATE OF SERVICE

         I hereby certify that copies of the foregoing brief, attachments, and exhibits (aside from
 the Sealed Declaration of Justin Savage) were filed with the Court’s ECF system on August 4,
 2008 and will be emailed to counsel of record through the ECF system. The Sealed Declaration
 of Justin Savage was filed with the Court under seal and will be emailed to counsel of record.

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